                                                                                                                    FILED
                                                                                                             CHARLOTTE, NC


                           IN THE UNITED STATES DISTRICT COURT                                                 JUN -8 2017
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA                                        US DISTRTCT COURT
                                   CHARLOTTE DIVISION                                                 WESTERN DISTRICT CF !.IC

                                        CRIMINAL NO.: 3: I 7cr73-RJC

UNITED STATES OF AMERICA                                         )
                                                                 )          CONSENT ORDER AND
                                                                 )        JUDGMENT OF FORFEITURE
                                                                 )          PENDING RULE 32.2(c)(2)
(I) JORCE HUMBERTO AGUILERA                                      )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination ofDelendants in this case) has or had a possessory interest or other
legal interest in the propertyr, IT IS HEREBY ORDERED THAT:

        L The following property is forfeited to the United States pursuant to 2l U.S.C. g
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. S 853(n), pending final adjudication herein:

         One Taurus Millennium Pro PTlll 9mm handgun, serial number TZD0E523, and
         ammunition.

         2.     The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody ofthe above specific asset(s).

         3.    Iland to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

         4.     Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication ofnotice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

        5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry ofthis order, the United States
Attomey's Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

         6.     As to any specific assets, following the Court's disposition ofall timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall


I In the eyent that any firearms are subject to forfeiture pursuant to this Consent Order, defendant's
                                                                                                       consent to
forfeiture herein does not constitute a waiver ofany objections to sentencing factors, including any weapon
enhancement that the Govemment may contend are applicable.




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become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). and the United
States shall have clear title to the property, and shall dispose of the property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 2l
U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation ofthe forfeiture in thejudgment against Defendant. Ilthe Defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Delendant hereby waives all right to do so. As to any firearms listed above
and/or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and all right to further notice of such process or such destruction.


                            ROSE




LAMB




                                                      MAKCOS ROBERTS
                                                      Attornev for Defendant




Signed this the   b day of     June, 201 7.




                                                UNITED STATES AAUST<AT             €.       JUDGE




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